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                                                                                FILE:by ?S*S o.c.

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                            UN ITED STA TES D ISTR IC T CO UR T                  STEVEN M LARIe RE
                            SOUTH ERN DISTRICT OF FLORIDA                        CLERKu à nIST cT
                                 PALM BEACH DIVISION                              s.D.ofiL:.-M* 1.

                                    .
                                        ,

                       CASENO.:Zh (',
                                    zg.,
                                       ee-. Ly(xoVJp.yg z,w
                                            -




 K ATH Y E.EM ER Y ,

          Plaintiff,



 A LLIED PILO TS A SSOCG TION ,

           Defendant.




                                        NO TICE OF ERM TA

       Plaintiff,Kathy E.Em ery hereby notitiesthe Clerk ofthe Courtthata m istake wasm ade

 when Plaintifffiled herinitialcomplainton Febnlary 19,2016 in Re:Kathy E.Emery v.Allied

 PilotsAssociation.The complaintwmsinadvertently filed with severalpagesm issing.This

 w entunnoticed because the signature page w as attached to the papers filed.

       Plaintiffrespectfully requests thatthe Clerk ofthe Courtdocketthe com plete docum ent

 attached hereto.

 R espectfully subm itled this 22ndday ofFebruary, 2016

               d7 ?
                  ' o
 K athy E. ery
 M ailing Address:
 1050 N .E.91Ststreet
 M iam i,Florida33138
 (305)758-9650
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                PA LM BEAC H D IVISIO N




 K ATHY E.EM ERY ,

              Plaintiff,



 ALLIED PILOTS A SSO CIA TION ,

              D efendant.




                           PLA W TIFF D EM AN D S TRIA L BY JU RY




                                                               Kathy E.Em ery
                                                               M ailing Address:
                                                               1050 N E 91StStreet
                                                               M iami,Florida33138
                                                              (305)758-9650
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                                       COM PLAINT
          COM ES NOW ,Plaintiff,Kathy E.Em ery,and hereby filesherCom plaintagainstthe

 Defendant, ALLIED PILOTS ASSOCIATION , and says:


                             1. JURISDICTION AND VENUE

       1. PlaintiffKathy E.Em ery on behalfofherselfbringsthisaction againstdefendant

 AlliedPilotsAssociation(thetçAPA'').Thesuitisbasedupon defendant'sbreachofitsdutyof
 fairrepresentation,andarisesundertheRailwayLaborActCtRLA''),45U.S.C.jj151,
 (1976)et.seq.andpursuanttoTitleVl1oftheCivilRightsActof1964,asamended,theAge
 DiscriminationinEmploymentAct(ADEA)of1967asamended,andtheAmericanswith
 DisabilitiesAd AmendmentActof2008,(ADAAA).ThisCourthasoriginalfederalquestion
 Jtuisdictionoverthedaimsasserted by Plaintiffptzrsuantto 28U .S.C.jj 1331and l337.

 Venueisproperpursuantto45U.S.C.jj 153(q)and (1))sincedefendanthaseithersubstantial
                                                     .




 contactsinthestateofFlorida,andthePlaintiffresidesinthestateofFloridaandissubjed to
 personaljudsdiction.Venueisalsoproperpursuantto28U.S.C.j1391(b)and(c)


                                       lI. PARTIES

           PlaintiftlKathyEmeryCtEmery''),isacitizenoftheUnitedStates,whoresidesinthe
 State ofFlorida. Ata1ltim esrelevantto thefadsand claim sasserted herein, Plaintiffisandhad

 been amem berin good standing oftheDefendantAllied PilotsAssociation and apilotwho is

 covered underthe CollectiveBargaining Agreementbetween Am erican Airlines, lnc.,

 CçAmericalf')andtheAlliedPilotsAssociation.
           DefendantAlliedPilotsAssociation(theûCAPA'')isalabororganizationwith its
 principaloffice in the StateofTexas. TheAPA hasbeen accorded exclusiverecognition, and is
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 the exclusiverepresentativeofthepilotem ployeesinthe serviceofAm erican Airlines, 1nc.,

  tçtAmericalf'lort:AA.
                      '')andisentitledtoactfor,andnegotiatecollectivebargainingagreements
 covering allpilotsinthebargainingtmit.

                               111.FAC TUA L BA C K G R O UN D

                                     Em plovm entH istorv

       4. On September2,1992 PlaintiffKathy Em ery washired asaComm ercialPilotfor

 AmericanAirlines,Inc.PriortothatdatePlaintiffhadenjoyedasuccessfulcareerasapilotfor
 PanAmericanW orldAirways(PanAm)
       5. Plaintiffw mshired by Am erican Airlines afterPan Am erican A irlinesceased

 operationsin 1991.

       6. W hen PlaintiF washired by Am erican,shewasahighly qualified individualandhad

 alw aysheld a FA A FirstClassM edicalCertitk ate.

                         M edkalDisqualifk ationm isabilitv H istorv

           Aftermorethanten(10)yearsofservicewithAmericanAirlines,Plaintiffwas
 medically disqualified from performingdutiesasapilotfollowingarequired medicalevaluation,

 conducted by the com pany.

       8. In oraround April2003 Plaintifffiled forlong-tenn disability benefitsunder

 American AirlinesRetirementBenefitProgram .

           Priorto approving Plaintiffsbenefits,Am ericanAirlinesCom orateM edical

 Director,Thom asH.Betles,M .D.,directed Plaintiffto contactand begin treatmentwith an

 Am erican Airlinesassigned physician,Dr.EmiqueM .Suarez, Initiating thistreatm entand

 FollowingDr.Suarezrecomm endationswasapre-condition forreceiptofdisability benefhs

 andeventualmedicalrettu'ntowork.FailtlretocomplywithAA'sdirectiveswouldsubject
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 Plaintifftoterm ination forinsubordination.

       10. AfterPlaintiffinitiated treatmentwith Dr.Suarez,Dr.BettesapprovePlaintifffor

 long-term disability bene/tsunderthe Program ,effedive M arch,2003.

       11. Dlzring the nextfouryears,Plaintiffsatisfied a1lProgrnm requirem entsand

 continuously received monthly disability benefhs,including eontinuousm edicalcm'eand

 treatm entfrom Dr.Suarez,who regularly provided Am erican'sm edicaldepartm entw ith updates

 regarding Plaintiff scondition.

       12. On January 25,2007,notwithstanding American'sfullknowledgeofPlaintiff s

 com pliancewith itsm edicaldirectives,and directcontactwith herAm erican Airlinesassigned

 physician,Dr.Thom asBettes term inated Plaintiff s disability benefitsw ithoutpriornotice. .

       13. Plaintiff sdisability benefits were autom atically stopped when Dr. Bettes,notified

 Am erican AirlinesPension Plan Adm inistration,tithatm edicalinform ation pertaining to the

 continuation ofPlaintiffslongterm disabilitybenefitshad been requested and dueto lack of

 Substantiation disability benefitsceaseon January 31,2007.5'

       14. Plaintiffreceived noticefrom Dr.Bettesthatdisability benefitsarebeing terminated

 ex postfacto. Thenotice stated in part,ttitcnnnotbeestablished,thatyou continuetoremain

 disabledand tm abletopursue obuiningyourFAA m edicalcertitk atewith thegoalofretum ing

 toyourjobasapilotforAmericanAirlines.''
       15. Upon Plaintiffsreceiptofthatnotice,Plaintiffim m ediately contacted A m erican

 AixlinesM edicalDepartmentandA A'sDisability NurseCaseM anager,JennneSpoone, seeking

 furtherclaritk ation.

       16   Plaintiffwasinform ed thatno additionalinformation would beprovided and

 Plaintiffsonly recoursewasto file an adm inistrative appealwith Am erican AirlinesPension
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 BenetitsDepartment(PBAC).
       17. On February 28,2007,PlaintiffwroteDr.Bettesaletterrequestingfurther

 daritk ation and requestingthathe scheduleEm ery foraFA A FirstClassM edicaland AA

 M edicalClearancetoReturntoW ork(RTW ),pursuanttoSection 20andotherprovisionsofthe
 pilotsCollectiveBargainingAgreement(CBA).
       18. N eitherDr.BettesnorA m erican everresponded to Plaintiff sletter.

       19. Plaintiffalso contacted theM inm iFlightOfficewho advised herthatsheshould

 directallinquiriestoDr.Bettes,Am erican AirlinesCorporateM edicalDirector.

                                    The D isabiliw A ppeal

       20. August20,2007,w ith no response from A A M edicalconcerning Plaintiff srequest

 form edicalclearanceto return to work.Plaintiffappealed the adversebenetitdeterm ination with

 AA'sPensionBenefitsAdministrationCommittee(theGTBAC'')whichappealwasdeniedon
 O ctober22,2007.

       21. Thedenialnoticestatedinpart,EtW esternM edicalEvaluators,lnc.(amedical
 consultingcompanyundercontractwithAmericanAirlines)determinedthattheevidence
 presented doesnotdocum entyourcontinued disability orreceiptofcontinued appropriate

 medicalcare.

       22. Thisdespitethefactthatsince2003 through thedecision date,Plaintiffwastmder

 thecareofaphysicianselectedand assignedtoPlaintiffbyAmericanAirlines(See!9above)
 and Plaintiffw asfully com pliantwith allofAm erican Airlinestreatm entrecom m endations.

             Citing W M E'Sreport,on O dober22,2007 the PBA C upheld Dr.Bettesterm ination

 ofPlaintiffsbenefits.

       24. M orethan threeyearslater,Plaintiffdiscovered thatW M E wasnotaclinicalsource,
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  aswasrequired tmderthe Plan and thepilotsCollectiveBargainingAgreement, butwasinstead

 a sm allworkers-compensation claim sprocessorthatworked forlarge companiesand insurers.

              Plaintiffw ould laterlearn thatthe m edicallicense ofW M E 'Sprincipaland

 CorporateM edicalDirector,Dr.Howard Douglas, had been revoked bytheTexasM edical

 Board forEçdishonorable,and unprofessionalconductlikelyto defraud ordeceive publicinthe

 futtzre,and professionalfailure to practice m edicine in an acceptable m nnnerconsistentw ith

 public w elfare.''

       26. ln July 2008,W M E wassuedby CapitalFunding Solutions, lnc.intheUS District

 Court,FLSD ,CaseN o.08-61IO6-SEITZ,forperpetrating tw o separate and distinctfraudulent

 Schem es,''which consisted ofactsofmedicalclaim fraud,and billing fraud, involving false

 claim form s and altered claim form s. These ad sw ere com m itted from January 2007 through

 July 2008,dtzring theprecisetime-fram eAmerican AirlinesPBAC Comm itteeused W M E to

 review careerpilots;disability claims.

       27. Significantly,in thatcase,form erW M E employeestestified thatW M E paid doctors

 120% oftheirnormalfeeto wrongfully deny claim ant'sbenetits, thatW M E'Sprincipaldirected

 Em ployeesto perfonu illegalacts,and thatW M E 'Sprincipalwould notwaiton doctors to

 com pletereports,and instead would create and sign theevaluation reportsherself.

       28. Duringtheperiod oftime thatAmericanAirlinesutilized W M E to conduct

 pilotmedicalreviews,American AirlinesDisability NurseCaseM anager, Jeanne Spoon tracked

 costsavingsdataon spreadsheetsshecom piled. Documentation from the spreadsheetswere

 used to calculate costsavingsusing tw o dates-the benefitterm ination date and the estim ated

 rettu'nto work dateofdisabled American Airlinespilots.
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       29. Costsavingsfrom A A M edical'sterm ination ofpilot'sdisabilitybenefitsand

 W M E'Sdecisionstoupholdtheseterminationsw eretracked on Ntlrse Spoon'sspread sheets.

       30. In August2008,W M E wasperm anently shutdown by theTexasStatelnsttrance

 Board and W M E and itsprincipalswerecharged with felonyworkerscompensation claim and

 billingfraud and subsequently convictedand sentenced. W M E'S M edicalD irector,Dr.H ow ard

 D ouglas,w as sentenced to s-years ofincarceration and wasordered to pay restitution for

 fraudulentcharges.

             ln responseto Plaintiffsand otherpilotsrequestsform edicalinformation from

 doctors whose nam es are depid ed on W M E reports, these dodorsw ere unable to produce any

 m edicalrecords in Plaintiff's case. Dr.Karen Grant, a senioraviation m edicalexam inerw hose

 signature appearson pilotsm edicalreports subm itted to A m erican A irlines stated to Plaintiffand

 otherpilotsthathersignatm ehadbeen electronically affixedto reportswithoutherknowledge

 and consent,forwhich shehad no medicalrecords.

       32. D uring theperiod oftim e 9om 2004 to 2007, Am erican'sdefined benefitpension

 plansweregrosslytmder-funded. Duringtheperiod oftim eAmerican'sannualSEC 10K Report

 showssubstantialfundingobligationsranging from $2.1billion to $2.5 billion.Thisreportalso
 acknowledged American'sunderstandingthatdueto substantialpension funding obligation, it

 would need accessto additionalfunding and thattheinabilityofAmerican to obtain additional

 funding would haveam aterialnegativeimpactontheability ofAmericanto sustain its

 operationsoverthelong-tenn.

       33. PilotFO La- enceM eadowsobuined deposition testim ony from key individuals

 in Am erican'sm ediealdepadm entand hum an resotlrcesdepm m ent, including seniorbudgeting

 analystSusan Roberson,who admitled thattheCostSavingsProgram wasadm inistered by the
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 Am erican medicaldepartm entthatwasoverseen by AA'sCom orateM edicalDirector, Thom as

 H .Bettes,M .D .

        34. Dudng the sam eperiod oftime from 2005 through 2008, Defendant,Allied Pilots

 Association also soughtto signitk antlyreduceitsdisabilitycostsundertheAPA 'Sown

 voluntarydisabilityplan. SeveralrevisionsweremadetotheAPA DisabilityIncomePlan(Loss
 ofLicense)inordertoreducecostsoftheplanandin2008theAPA LossofLicensePlan,was
 term inated by theAPA andreplaced with the PilotOccupationalDisability Plan.

       35. Dudng thisperiod oftim e,Plaintiffhad a claim forAPA Disability benefhsunder

 theAPA LossofLicensePlan.NotunlikeAmerican, D efendantA PA failed to tim ely pay all

 disabilitybenetkstmdertheplan and failed toadm inisterPlaintiffsclaim within thetim e

 prescribedby law. So in 2011,afterAPA 'Sprotracted delaysin the claimsadm inistrative

 processlmstingnearly eightyears,Plaintifffiled suitagainstDefendantAPA to enforceherrights

 underERISA.

       36. Judgmentwasgranted in favorofPlaintiffKathy EmeryagainsttheDefendant

 Allied PilotsAssociation in the amotmtof$47,058.29 forintereston delayed disability benetit
 paym ents and an orderwasentered awarding PlaintiffKathy Em ery prevailing party costsin the

 m atter. See Case N o.:11-81123-CV -KLR

       37. Plaintiffhasrecently learned thatAllied PilotsAssociation wasdirectly involved in
 the selection ofW M E who had adocumented historyofquestionable medicalpracticesafter

 detenuining thatthere would be a costsavings to the A PA associated w ith the selection of

 W M E.
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        38. ItappearsthatAPA hadrejectedtwohighlyrespectedindependentmedical
  reviewerssuggestedbyAPA'Slong-timeAviationM edicalConsultant(AM AS)who
  recomm ended theM ayo Clinicand theUniversity ofTexasM edicalBranch in Galveston,

  Becausethe wanted toperform an independentm edicalexamination ofthepatient

              Follow ing the PBA C'S Od ober22,2007 decision in which itwasdeterm ined there

  wasno evidence ofa continued disability,Em ery im m ediately contacted A m erican A irlines

  M edicalDepartment to coordinateherm edicalclearanceto return to work.

                            F() Katla Em va 'sG rievanceNo.07-082
        40. By letlerdated N ovember 12,2007,from Captain Tom Hynes, M anaging Director

  ofFlightM iam i,to FO Em ery,she w as advised, &çA s a resultofyourfaillzre to qualify forLong

  Term Disability,you areon unauthorized leaveofabsence.''A hearing wasscheduled to discuss

  Em ery'splan to retum to w ork on N ovem ber20,2007.

       41. Attheonsetofthehearingheld by Captain Brian Fields, Base M anager-chiefPilot

  M inm i,handed FO Emery a letterdated November20, 2007,signed by Captain Fields,directing

 herto take allstepsnecessary to retum to w ork. . .and directingherto contad AA M edicalto

 coordinateclearanceto activeduty no laterthan Novem ber30,2007. Theletterfurther

 threatened Plaintiffwith termination,stating,ttFaillzreto comply withthisdiredivewill

 be considered a violation ofAmerican AirlinesRulesand Regulations, Rule7,Insubordination

 and willresultin imm ediatetermination.

       42. A tthe hearing Em ery inform ed Captain Fields ofherdisability history with

 Am ericanAirlinesasdescribed aboveand herimm ediatedesireto return to work. Em ery also

 testified aboutherpriorattemptsbeginning in February 2007to coordinatewith AA M edical

 herm edicalclearance to retttm to w ork.
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        43. FO Em ery requested and Captain Fieldsagreed to intercedeon herbehalfand

  scheduledan appointm entwith Am ericanAirlinesCorporateM edicalDirector, Thom as Bettes

  forthepurposeofgetting herFAA FirstClassM edicaland return to work clearance.

        44. Following thehearing,by e-m ailto Em ery'sM iamiUnion Representatives,

  Captain Fieldscontirmed thatEm ery wasin compliancewith A A'sNovember20, 2007 directive

  and confirm ed her scheduled appointm entwith Dr. BettesforD ecem ber 12,2007.

  Captain Fieldsreiterated though, thatPlaintiffsfailm eto appearatthescheduled appointment

  wouldbeconsideredinsubordination,therebysubjectingPlaintifftoimmediatetermination.
  (See! 18above)
        45. Decem ber 10,2007 the A PA prepared a Grievance, signed by Plaintiffprotesting the

  hearing conducted N ovem ber20, 2007 and Com pany's violation ofthe CBA and pastpractices

  (inconnectionwithamongotherthings)improperlyremovingherfrom disability, placing her
  on an ûûunauthorized''leaveofabsencewhile failingto placePlaintiffon aproperpay statusof

  PW ,and im properly investigating her.

        46. Decem ber12,2007,Plaintiffappeared asscheduled forherappointm entwith Dr.

  Bettes,w ould notconductthe required m edicalevaluation as directed by Captain Fields nor

  didhegrantPlaintiffsmedicalclearancetoRettzrntoW ork(RTW ).
        47. During discussion with Dr.Bettes, Plaintiffrequested shebeplaced on aproper

 paidstatusof Paid W ithhold(PW )orAwaitingTrainingorthatshebegrantedareasonable
 accomm odation pending herm edicalclearanceto RTW .

       48. Subsequently,internalcom pany e-m ailsbetween Dr. Bettes and the M ipm iFlight

 Oftice,show adeterm ination wasm adethatFO Emery wasin fullcompliancewith al1of
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  American Airlinesdirectivesandthatshe should have been placed in aPW status,awaiting

  trainingstatusorgranted aspecialassignment(accommodation).
        49. To the extentthatDr.Bettesstillconsidered Emeryto bem edically disqualified or

  tm able to hold an FA A FirstC lassM edical,w hich contradid ed D r. Bettespriorposition,then

  Captain Fieldsagreed thatEmery should beplaced on aPW statuswhich isafu11paid status or

  disability status.

        50. Begirm ing in or arotm d June 2008 Am erican A irlinesinitiated an investigation

  following FO Emery'scomplaintto Amedcan AirlinesBusinessEthics& Complimwe

  Departmentallegingunfairtreatmentanddiscrimination.(CaseNo.803305566011.
        51. Em ery's internalbusiness ethicsCom plaintN o.80330556601 w as assigned to

  investigatorM ichealChianese,w ho w as instnzcted to contactKathy Koorerm y, A PA legal,

  ûtbecause itappearsthere is som e history.'' M ichaelChianese reported thathe spoke with D avid

  G ilbert,M iam iFlightAdm inistration M anager,w ho falsely advised him that,

        Gsherefusedtosubstantiateker#&J&S/y,includingnotshowing upfora
         requiredmedicalevaluation,andthereforeshef.çnotellkibleforherF.4z4
         Cert6 cation.DrBettesrequestedmedicalinfoon 1/25/07thatwasnot
         providedandherLTD Beneftswereceasedon 1/31/07per.4,4M edical,of
        which she had 180 days // #/eanappeal,whichshedidn'
                                   .                        tdo. Gilberthas
        relzlzNofdocumentation on /à8.issue..''
              Based on patently falseinformation providedby Dave Gilbertand withoutany

  com munication atal1with FO Emery,M rChianese determined thatherallegationswere

 unsubstantiated and closed thecase with no action.

              On M arch 18,2009,the APA PresidentLloyd H illsubm itted Plaintiff G rievance

 No.:07-082totheSystem BoardofAdjustmentseekingtoplacePlaintiffin aproperpaidstatus
 ofPW orAwaiting Training,which can onlybe held by employeesofAmerican Airlines.
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        54. D espite repeated attem ptsby Plaintiffto ascertain the results ofherinternal

  com pany com plaint,she wasneverinform ed thatthe investigation had been closed orthe basis

  ofthe closure.

                APA recordsnow show thatPlaintiffEmery waswrongfully tenninated by

  American Airlineseffective October18,2007w ithoutnotice,a datewhich pre-datesher

  com pany grievance.

       56. Plaintiff s term ination wasim properunderthe term softhe pilots CBA and there

  iscertainly a reasonable prestlm ption thatFO Em ery w ould prevailon hergrievance.

        57. Plaintifps grievance challenging herem ploym entstatusseeks to place Plaintiff

  in a properpaid status ofPW orAw aiting Training,which can only be held by an A m erican

  A irlines em ployee.

                ThearbitrationwhichhadbeensubmittedtotheSystem BoardofAdjustmentin
  M arch of2009 had notyetbeen scheduled when A m erican A irlinesfiled Bankruptcy on

  N ovem ber29,2011.

                The A PA w hich isthe certified collective bargaining representative,underthe

  Railw ay LaborA ct,forAm erican A irlinespilots,tiled a ProofofClaim #8331 on July 13,2012

  againstthedebtorAmerican Airlinesforclaimsrelated to grievancesinvolvingAPA ancl/orits

  memberpilotsthatrisefrom conductorbreachesofthe2003CBA (includingthesupplemental
  Agreements)andotherseparateagreementsbetweenAmericanandtheAPA.
        60. N ovem ber 16,2012,A PA and D ebtor entered into a LetterofA greem ent

  (SettlementConsiderationandBankruptcyProtection)providingfornmongotherthings,the
   Settlementofclaim sofAPA,on behalfofitselforthepilotsrepresented by the APA,against

  A m erican.
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        61. The Agreementwhich wasincorporated into thenew CollectiveBargaining

  A greem entexcluded a11pending grievances w ith the exception ofthe m ostserious grievances.

  PlaintiffsGrievanceNo.07-082 wasoneofthenamed grievancesincom orated by settlem ent

  into thenew CollectiveBargainingAgreem ent.Thedollaram ountofPlaintiffsclaim when

   submittedto theBankruptcy Courtby APA wasthen already wellin excessof$600,000.00.
        62. O n February 6,2015 A PA advised Plaintiffthatthe Com pany m ay be willing to

   schedule grievancesforarbitration,now thatthe JointCollective Bargaining A greem enthad

  been concluded,and to thatend provided Plaintiffw ith a listofarbitration slotsfor2015.This

  w assix yearsafterA PA PresidentLloyd Hillsubm itted m y grievance to the System Board of

  Adjustment.Duringthatperiodoftime,APA had attributedthedelayinschedulingarbitrations
  to Am erican Airlines.

               O n February 9,2015 Plaintiffadvised A PA thatshe would prefera tim e slotthe

   second halfofthe yearciting asa key factorthe selection ofthe arbitrator and the tim e needed

  to prepare the case and stated as follow s:

        GG1understand thatwcareentitled to reasonablediscovery Also Iunderstand that
         APA willneedtocallanumberofwitnessesinmy case.Realistically,1wouldhave
        liked thistohappenyesterday.However,becauseofthelengthoftimethathaspasse4
        APA willneedenoughtimetoofullyprepareandarrangetocallwitnesses.Herethe
        stakesare vervhighforme,so1would/ï#,
                      .                     ctheAPA tohavethetimeitneedstobefully
        prepareé 1am thinking sometimeinthesecondhalfoftheyear...Mostimportantissue
        formeisto befullyprepareà ''
        ''
         Also,Iwould like to begin discussing the casewithyou assoon aspossible. Please 1et
        mekat/w when eitheryou orBennettwillbeavailable. I'   m availablemostany timeand
        would bewillingtocometoDallastostartpreparingforthearbitration''
        64. On February 18,2015APA sentPlaintiffan updated listofarbitratorsto include

  firstnames.On February 26,2015 PlaintiffsentAPA StaffAttorneyTrish Kennedy alistof
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  threearbitratorsanddatesinorderofpreference.(1)ArbitratorRichardKasheronSeptember
   16-18,2015;(2)ArbitratorDanaEischenonSeptember29-October,2015;(3)ArbikatorFred
  HorowitzforAugust18-20. However,itappearsthatAPA did notprofferPlaintiffsArbitration

  schedule to the com pany untilseveralm onths later.

              In 2014 StaffAttorney,Trish Kemzedy suggested she may beableto movethe

  A rbitration forward and initially suggested A rbitratorStephen P.G oldberg,w ho w as selected

  by A PA PresidentK eith W ilson to presided overthe A PA Equity Proceedingsin w hich Em ery

  participated,and currently hasan action pending in theFLSD pertaining totheAPA

  Equity D istribution,See 14-80518-K LR. Clearly M r.Goldberg would have been conflicted

  from hearing Em ery's grievance.U ltim ately,according to M s.Kennedy,Arbitrator Goldberg

  w as rem oved from the listofagreed upon arbitratorsby A m erican A irlines.

        66. Thereafter APA notified FO Em ery thatthe com pany offered to arbitrate before

  ArbitratorW einstein on a specitk date withoutregard forherpreferencesforarbitratorsand the

  arbitration dates.ArbitratorW einstein'snnmedidnotappearon thelistofapproved arbitrators

  provided FO Em ery by APA.

              ltw as nottm tilJune 8,2016,thatA PA inform ed Plaintiffthatthey had subm itted

  m y listofpreferencesto A m erican and Am erican had agreed to Plaintiff s selection ofA rbitrator

  K asherforSeptem ber 16-18,2015.

        68. O n Jlm e 8,2015 A PA inform ed Plaintiffthatthe deadline to exchange w itnesslists

  and docum entsw as 21 days in advance ofthe hearing date w hich w asA ugust25,2015.,

  Accordingly Emery attempted to arrangeameeting with APA to assistwith doctzmentswhich

  APA had in theirpossession and disclosureofwitnessesin advanceofthatdate.
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         69. On August20,2015 APA StaffAttorney Trish Kennedy agreed to m eetwith

  Plaintiffforseveralm inutesw hile Plaintiffwmsin Dallas,Texas for otherA PA business,

   claiming thevisitlim ited becauseitw asunnnnounced..M s.Kennedy could notdiscuss

  documentsorwitnessesto any extentdttring thatbriefmeeting,norwould M s.Kennedy takeor

   any ofthedocum entsFO Emery had broughtwith hersthatshe wanted m arked asexhibitsin her

   arbitration.

         70. Priorto thatdate,FO Em ery had inform ed M s.K ennedy she would be in D allas for

   otherA PA businessdttring the w eek and w ould like to m eetand confer with A PA legalabout

  herupcom ing A rbitration. How ever,no m eeting was scheduled by the A PA during thattim e

  period.

         71. O n August25,2015,FO Em el'
                                       y received N otice from the A PA thatA m erican had

   filed a requestforBifurcation w ith the A rbitratorw ith Exhibits,w hich w as w ithin the tim e

   allotted forexchangeofdocum ents.In thatnotice,A#A soughtto have atelephoneconference
  w ith the arbitratoraboutthe issue.

         72. O n August26,2015 perA PA 'S request,Em ery conferred by telephone w ith APA

   StaffAttorney Trish K ennedy and BennettBoggess aboutAm erican's Bifurcation letterand

   Exhibits.Atthattime Emery advisedAPA thatshewanted to bepresentduring thetelephone

   conference orthata propertranscribed record ofthe proceeding be m ade,because Em ery

   believed thatthe bifurcation requestwasan attem ptby American to limitormischaracterizethe

  nattlreofhergrievance.

         73.During the August26,2015 teleconference,Emery wasinform ed thatAPA had not

   subm itted any docum entsto Am erican A irlines;had notprovided Am erican a w itnesslist,or

  m adeany arrangem entsto have witnessesappearatthe arbitration hearing. Norhad APA
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   agreed to adateto m eetand conferwith Emery aboutdocttmentsorwitnesses,despitethefact

  thatEm ery had provided A PA w ith a listofpotentialwitnesses in July 2014.

               On August28,2015Attorney Trish Kennedy irtfonned Emery forthetirsttim ethat

  A PA PresidentK eith W ilson who isnotan attorney controlshergrievance and thathe isthe

   decision m aker.

         74. K eith W ilson had and has a serious contlictofinterest. H e stripped FO Em ery and

   otherpilots with a history ofdisability oftheirrightto participate in tm ion activities,an action

   forwhich Plaintifffiled asuitagainsttheAllied PilotsAssociation.See CmseNo.:14-80518-CIV-

   K LR.

         75. PresidentK eith W ilson's Ethostile discrim ination''nm ongstPlaintiffEm ery and its

   union m em bers who w ere disabled orhad ahistory ofdisability and his stated controloverher

   grievance and A PA 'S failure to properly prepare forthe arbitration ofPlaintiffEm ery's

   grievanceby the August25,2015 discovery cutoffdatenecessitated thatEmery postpone her

   grievance and requestindependentthird party representation which A PA refusesto provide.

                                            CONCLUSIO N

         PlaintiffEmeryhasbeenheldoutofservicefrom herjobasapilotwithAmerican
   Am erican A irlines,Inc.fornearly eightyears now aw aiting hergrievance. A PA 'Sperfunctory

   preparation forFO Em ery's grievance by herunion representativesand their failure to fairly

   representnecessitating a postponem entofthe grievance aflerw aiting so long to have the

   grievance scheduled,am ountsto APA 'Sviolation ofits duty to fairly representFO Em ery

   PlaintiffbelievesAPA'Slack ofpreparation forthegrievance and itsfailtzreto fairly represent

   wasintentional,invidious,and directed atK athy Em ery w ho continuesto speak up notonly for

   herselfbutal1disabled APA pilotm embers.
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                                     IV . CA USE O F A CTIO N

            C O UN T 1:BR EA C H O F TH E DU TY O F FA IR R EPR ESENA TIO N IN
                       VIOLATION OF THE RM LW AY LABOR ACT

         76. Plaintiffincorporatesthe allegations contained in Paragraphsabove as iffully

   stated herein and says furtherthat:

         77. The failure ofthe D efendantA llied PilotsA ssociation to fairly representPlaintiff

  K athy Em ery,w ho had been wrongfully term inated by A m erican A irlinesin is a breach ofthe

  A PA 'S duty to fairly representKathy Em ery,who w as and isa m em ber ofthe A llied Pilots

  A ssociation.

         78. The effectofDefendant'sfaillzre to fairly representK athy Em ery in a reasonalble

  m anneris a violation ofthe Railw ay Labor Act.

         79. Butforthe arbitrary,discrim inatory and deliberate,bad faith actionsofthe A PA ,in

  regardtoPlaintiff,KathyEmery'sgrievance,shewouldhaveenjoyedthesameemployeepay
  andbenefitsasenjoyedbyotherpilotmembersoftheAlliedPilotsAssociation

                                    V . PR AY ER FO R RELIEF

         W HEREFORE,KathyEmeryrespectfullyrequestthattheCourtenterjudgmentinher
  favoragainstthe Allied PilotsA ssociation fordam ages resulting from the breach ofduty of

  fairrepresentation ofpilotEmery,consisting,among otherthings,ofcompensation forlost

  benefitsand/orwages,dueto the arbitrary,discrim inatory,and bad faithactsofthe APA in

  the perfunctory handling ofher grievance. Defendantpraysthatthe Courtw illm ake FO

  Emerywholebyawardingherthepay and/orbenefitsallowedotherpilotmembers(plusinterest)
  and costof suit;

                  Awardsuch furtherreliefastheCourtdeemsjustandproper.
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  Respectfully submitted this 19thday ofFebruary, 2016.

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                          7 0
                .w /             zc
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